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                                                 #:2208                                      #65(5/22 hrg off)
                               UNITED STATES DISTRICT COURT                                         JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 15-3240-PSG (SSx)                                        Date     May 16, 2017
                CV 16-2106 PSG (SSx)
 Title          TeleSign Corporation v. Twilio, Inc.
                Telesign Corp. v. Twilio, Inc.



 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order GRANTING Defendant’s Motion to Consolidate and
                                      Stay Related Cases

       Before the Court is Defendant Twilio, Inc.’s motion to consolidate and stay related cases.
Dkt. # 65. The Court finds the matter appropriate for decision without oral argument. Fed. R.
Civ. P. 78; L.R. 7-15. Because Plaintiff Telesign Corporation does not oppose consolidation,
Opp. 1:16–19, the Court GRANTS Defendant’s motion to consolidate. The Court also GRANTS
Defendant’s motion for a stay until March 2018 when the PTO is expected to complete its inter
partes review (“IPR”) of four claims in the ’792 patent.

I.       Background

       In the two related cases now before the Court, Telesign Corp. v. Twilio, Inc. (“Telesign
I”), CV 15-3240 PSG (SSx), and Telesign Corp. v. Twilio, Inc. (“Telesign II”), CV 16-2106 PSG
(SSx), Plaintiff Telesign Corporation alleges that Defendant Twilio, Inc. infringes Plaintiff’s
patents for two-factor Internet security authentication. The three patents involved in Telesign I
are Telesign patents 8,687,038 (“the ’038 patent”), 8,462,920 (“the ’920 patent”), and 7,945,034
(“the ’034 patent”), and the one patent involved in Telesign II is Telesign patent 9,300,792 (“the
’792 patent”).

       On March 9, 2016, the Court granted Defendant’s motion to stay Telesign I pending a
request for IPR of twenty-two claims in the ’038 patent, seventeen claims in the ’920 patent, and
eleven claims in the ’034 patent. See CV 15-3240, Dkt. # 124. In July 2016, the Patent Trial
and Appeal Board (“PTAB”) of the U.S. Patent and Trademark Office (“PTO”) denied the IPR
petitions for the ’038 and ’920 patents but granted the IPR petition for eleven claims in the ’034
patent. See CV 15-3240, Dkts. # 125-1, 125-2, 125-3. Because PTAB granted IPR for only
some of the claims in Telesign I, Plaintiff petitioned the Court to reopen the case. Dkt. # 125.
The Court denied the request on September 15, 2016. Dkt. # 141. Both parties expect that

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PTAB will complete its IPR of the eleven claims in the ’034 patent by June 28, 2017. Opp.
8:1–9.

        On March 28, 2016, three weeks after the Court granted the stay in Telesign I, Plaintiff
filed a second case against Twilio, alleging infringement of a related patent (the ’792 patent).
See Complaint (“Compl.”), CV 16-2106, Dkt. # 1. The parties admit that the ’792 patent is in
the same patent family as the ’038 and ’920 patents, but the ’792 patent is not in the same family
as the ’034 patent now undergoing IPR review. Mot. 2:19–22; Reply 3:15–19, 6:12–15.

       On March 8, 2017, PTAB granted IPR review of four of the six claims asserted in the
’792 patent. Dkt. # 58-1. Defendant represents that PTAB’s IPR decision “turned on the
construction of ‘notification event,’ a term found in the ’792, ’038, and ’920 patents.” Mot.
4:25–5:13. The parties believe that PTAB will issue its final decision on the four claims in the
’792 patent by March 2018. Opp. 8:1–9.

       Separately, in December 2016, Twilio filed suit against Telesign in the Northern District
of California. See Twilio Inc. v. Telesign Corp., No. CV 16-6925 LHK (SVKx). Although the
parties do not brief the Court on what patents are implicated in this Northern District case,
Telesign informs the Court of the Northern District’s discovery order authorizing cross-
discovery between the Northern District and Central District cases. See CV 16-6925 LHK
(SVKx), Dkt. # 61, at 3 (“[B]ecause of the similarities in the cases and adequate safeguards for
third parties, Rule 1 favors cross-use of discovery in this case and the CDCA cases to allow for
the ‘just, speedy, and inexpensive’ resolution of the cases.”).

        Defendant now moves the Court to stay all proceedings until PTAB finishes the IPR for
the four claims in the ’792 patent in March 2018. At this point, the parties are stayed from
litigating all matters related to the ’038, ’920, and ’034 patents until PTAB completes its IPR
review of the eleven claims in the ’034 patent in June 2017. Plaintiff opposes the motion to stay.

II.      Legal Standard

         A.      Inter Partes Review

       In 2011, Congress enacted the America Invents Act (“AIA”), Pub. L. No. 112–29, 125
Stat. 284 (2011). The AIA created new adjudicatory proceedings before the PTO, including
IPRs, post-grant reviews, and covered business method reviews. See PPC Broadband, Inc. v.
Corning Optical Commc’ns RF, LLC, 815 F.3d 734, 740–41 (Fed. Cir. 2016). Congress

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intended these proceedings to provide “quick and cost effective alternatives” to litigation in the
courts. H.R. Rep. No. 112–98, pt. 1 at 48 (2011), as reprinted in 2011 U.S.C.C.A.N. 67, 78; see
also id. at 40 (“[AIA] is designed to establish a more efficient and streamlined patent system that
will improve patent quality and limit unnecessary and counterproductive litigation costs.”).

        An IPR is available to any “person who is not the owner of a patent . . . .” 35 U.S.C. §
311(a). Through IPR, petitioners “may request to cancel as unpatentable [one] or more claims of
a patent only on a ground that could be raised under [35 U.S.C.] section 102 or 103 and only on
the basis of prior art consisting of patents or printed publications.” Id. § 311(b). Before
instituting an IPR trial, PTAB must determine that the petition presents a “reasonable likelihood
that the petitioner would prevail with respect to at least [one] of the claims challenged in the
petition . . . .” E. Digital Corp. v. Dropcam, Inc., No. CV 14-4922 JST, 2016 WL 658033, at *2
(N.D. Cal. Feb. 18, 2016) (alteration, citation, and internal quotation marks omitted) (quoting 35
U.S.C. § 314(a) and Universal Elecs., Inc. v. Universal Remote Control, Inc., 943 F. Supp. 2d
1028, 1030 (C.D. Cal. 2013)). Once a petition is accepted, the entire IPR, including PTAB’s
final written decision, must be completed “within one year from the date of institution, absent an
extension for good cause.” 35 U.S.C. § 316(a)(11). Although a good cause extension could
extend the review up to six months, federal regulations implementing these time requirements
anticipated that extensions would be rare. See 35 U.S.C. § 316(a)(11); 37 C.F.R. § 42.100(c);
Wonderland Nurserygoods Co., Ltd. v. Baby Trend, Inc., EDCV 14-1153 VAP (SPx), 2015 WL
1809309, at *2 (C.D. Cal. Apr. 20, 2015).

        In an IPR review, PTAB “gives claim language its broadest reasonable interpretation.”
PPC Broadband, Inc., 815 F.3d at 740 (citing In re Cuozzo Speed Techs., LLC, 793 F.3d 1268,
1279 (Fed. Cir. 2015)). “By giving the claim language its broadest reasonable interpretation, the
patent examiner is able to ‘reduce the possibility that, after the patent is granted, the claims may
be interpreted as giving broader coverage than justified.’” Id. (citing In re Prater, 56 CCPA
1381, 415 F.2d 1393, 1404–05 (1969)). This is different from district court review because
“[d]istrict courts, by contrast, do not assign terms their broadest reasonable interpretation.
Instead, district courts seek out the correct construction—the construction that most accurately
delineates the scope of the claimed invention—under the framework laid out in Phillips v. AWH
Corp., 415 F.3d 1303 (Fed. Cir. 2005) (en banc).” Id. A party may appeal a final written PTAB
decision to the Federal Circuit. 35 U.S.C. § 141.

         B.      Motion to Stay



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       “Courts have inherent power to manage their dockets and stay proceedings, including the
authority to order a stay pending conclusion of a PTO reexamination.” Ethicon, Inc. v. Quigg,
849 F.2d 1422, 1426–27 (Fed. Cir. 1988) (citation omitted). Courts generally consider three
factors in deciding whether to grant a stay during IPR proceedings:

         1.      whether discovery is complete and whether a trial date has been set;

         2.      whether a stay will simplify the issues in question and trial of the case; and

         3.      whether a stay would unduly prejudice or present a clear tactical disadvantage to
                 the non-moving party.

Wonderland Nurserygoods, 2015 WL 1809309, at *2 (quoting Universal Elecs., 943 F. Supp. 2d
at 1030–31). Courts should also consider the “totality of the circumstances” in evaluating
whether a stay is proper. Id. (“While the case law enumerates several general considerations
that are helpful in determining whether to order a stay, ultimately ‘the totality of the
circumstances governs.’” (quoting Universal Elecs., 943 F. Supp. 2d at 1031)); see also E.
Digital, 2016 WL 658033, at *2 (“While case law supplies these general considerations, the
Court ultimately must decide whether to issue a stay on a case-by-case basis.”).

        “There is a ‘liberal policy in favor of granting motions to stay proceedings pending the
outcome’ of re-examination, especially in cases that are still in the initial stages of litigation and
where there has been little or no discovery,” but “[c]ourts are not required to stay judicial
proceedings pending re-examination of a patent.” Pi-Net Int’l, Inc. v. Hertz Corp., No. CV 12-
10012 PSG (JEMx), 2013 WL 7158011, at *2 (C.D. Cal. June 5, 2013) (quoting Aten Int’l Co.
Ltd. v. Emine Tech. Co., No. SACV 09-0843, AG (MGLx), 2010 WL 1462110, at *6 (C.D. Cal.
Apr. 12, 2010)).

III.     Discussion

       Defendant Twilio urges the Court to stay the case pending the IPR for the ’792 patent,
which is scheduled to conclude in March 2018. See generally Mot. For the reasons discussed
below, the Court agrees and GRANTS Defendant’s motion to stay the case until PTAB finishes
its IPR of the ’792 patent. The Court reviews the three factors—stage of the proceedings, the
possibility of simplifying issues, and undue prejudice to the non-moving party—and ultimately
finds that a stay is justified.


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         A.      Stage of the Proceedings

       The first factor asks the Court to consider the progress already made in the case, such as
the completion of discovery, the setting of a trial date, and whether claim construction has
occurred. See E. Digital, 2016 WL 658033, at *2; Wonderland Nurserygoods, 2015 WL
1809309, at *2. “[D]istrict courts have adopted the date of the filing of the motion to stay” as
the “proper time to measure the stage of litigation.” VirtualAgility Inc. v. Salesforce.com, Inc.,
759 F.3d 1307, 1316 (Fed. Cir. 2014) (collecting cases).

       Here, Defendant filed the current motion on March 17, 2017. See Dkt. # 65. At that time,
Telesign I had already been stayed for a little more than a year. Although the parties in Telesign
I had exchanged initial disclosures, responded to requests for production and interrogatories, and
had just begun claim construction at the time of the stay, the Court had not yet set firm
scheduling dates, and the parties had not yet filed claim construction briefs or motions for
summary judgment. See Dkt. # 124. Telesign II, filed in March 2016, is still in the early stages
of discovery as well. The parties have filed initial disclosures and negotiated the terms of
scheduling and protective orders, but the Court has not yet set a briefing schedule or a firm trial
date. See Opp. 7:19–26.

        Because discovery in Telesign I and II is not yet completed, the parties have not filed
claim construction briefs, and the Court has not set a firm trial date in either case, the Court finds
that this factor weighs in favor of a stay. See Wonderland Nurserygoods, 2015 WL 1809309, at
*3 (finding that this factor weighed in favor of a stay where fact discovery was not yet complete
and the parties had submitted claim construction briefs, but the Markman hearing had not yet
occurred); Locata LBS, LLC v. Yellowpages.com, LLC, No. CV 13-7664 JAK, 2014 WL
8103949, at *2–3 (C.D. Cal. July 11, 2014) (finding this factor weighed in favor of a stay where
the parties had engaged in some preliminary discovery, but the parties had not settled on formal
dates and depositions had yet to take place).

         B.      Simplify Issues

      The Court next considers whether a stay will simplify the issues in the case. See
Wonderland Nurserygoods, 2015 WL 1809309, at *2; Black Hills Media, LLC v. Pioneer Elecs.
(USA) Inc., No. CV 14-0471 SJO (PJWx), 2014 WL 4638170, at *6 (C.D. Cal. May 8, 2014).

       According to Defendant, the ’792 IPR will focus on the term “notification event.” See
Mot. 4:25–26. Defendant asserts that this IPR will simplify the issues before the Court because

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the “notification event” term appears in the ’792 patent as well as the ’038 and ’092 patents, and
the patent office’s ability to provide the broadest construction for this term will at least limit the
scope of issues before the Court at trial. See id.; Reply 1:22–24 (“[T]his term appears in every
independent claim in every patent of the second patent family.”), 3:20–4:2. Defendant also
raises concerns about allowing the federal case to proceed at the same time as the IPR.
Defendant points out that “if the jury finds some claims of the ’792 patent valid, but the Patent
Office finds those same claims invalid, the ultimate outcome would depend upon which decision
would reach finality first.” Mot. 10:16–27. Given the likely briefing schedule, there is a real
risk that the Court would set a trial in the consolidated Telesign case in spring 2018—around the
same time that PTAB is expected to complete its IPR of the ’792 patent—and there might be a
race to verdict. See id.

        Plaintiff counters that, although the ’792 IPR might simplify the issues somewhat, the
potential benefit from the IPR is minimal. Plaintiff points out that, after the PTAB completes its
IPR of the ’034 patent, only the four claims in the ’792 patent will remain for IPR review. This
means that, as of June 2017, PTAB will have before it only four out of the 84 claims implicated
in this case. See Opp. 9:10–16. Plaintiff does not comment on how the four remaining claims
before the PTO might influence the other claims not under review. Nonetheless, noting that
PTAB’s IPR review is limited to determining the broadest possible claim interpretation, Plaintiff
also underscores that the IPR is not outcome determinative of Plaintiff’s infringement claims,
and cannot speak to the issue of whether some of Plaintiff’s claims are barred by waiver,
estoppel, acquiescence, or unclean hands. Plaintiff also speculates that, once the IPRs are over,
Defendant will ask the Court to ignore the IPRs completely. See Opp. 11:6–13:8. This
argument assumes, of course, that Plaintiff will prevail before the IPR and that the Court, if
presented with such a request to ignore the PTAB proceedings, would grant it.

       Although the rationale for a stay is lessened when IPR proceedings are asserted against
some, but not all, of the claims at issue, the fact that not all claims are challenged in the IPR does
not mean that the IPR for the ’792 patent will not simplify the case. See, e.g., SAGE
Electrochromics, Inc. v. View, Inc., No. CV 12-6441 JST, 2015 WL 66415, at *2 (N.D. Cal. Jan.
5, 2015) (citing Versata Software, Inc. v. Callidus Software, Inc., 771 F.3d 1368, 1372 (Fed. Cir.
2014), vacated on other grounds, 780 F.3d 1123 (Fed. Cir. 2015)); PersonalWeb Techs., LLC v.
Apple, Inc., 69 F. Supp. 3d 1022, 1028–29 (N.D. Cal. 2014); Robert Bosch Healthcare Sys., Inc.
v. Cardiocom, LLC, No. C 14-1575 EMC, 2014 WL 3107447, at *5 (N.D. Cal. July 3, 2014).
As the court in Robert Bosch concluded, even if claims remain for trial after IPR, the PTAB
decision “is strong evidence that the court must consider in assessing whether the party asserting
invalidity has met its burden of clear and convincing evidence.” 2014 WL 3107447, at *4

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(quoting Evolutionary Intelligence, LLC v. Facebook, Inc., C 13-4202 SI, 2014 WL 261837, at
*7–8 (N.D. Cal. Jan. 23, 2014)); see also Software Rights Archive, LLC v. Facebook, Inc., C 12-
39721 RMW, 2013 WL 5225522, at *16 (N.D. Cal. Sept. 17, 2013) (“Although there is no
guarantee an IPR will eliminate all the claims at issue, the higher standard to initiate an IPR
(‘reasonable likelihood that the petitioner would prevail with respect to at least 1 of the claims
challenged in the petition’ as opposed to ‘substantial new question of patentability’) gives at
least some promise that certain challenged claims will be struck down or amended if the PTO
grants the petitions.”). Moreover, because the four ’792 claims at issue in the IPR implicate the
’038 and ’092 patents, given that they are part of the same family and use the same terms,
Defendant has made a sufficient showing to tilt the balance in favor of a stay.

        In light of the above, the Court finds that the second factor, the simplification of the
issues, weighs in favor of a stay.

         C.      Undue Prejudice

        The final factor is whether a stay would unduly prejudice or present a clear tactical
disadvantage to the non-moving party—here, Plaintiff Telesign. See Wonderland Nurserygoods,
2015 WL 1809309, at *2. “In weighing the prejudice to the non-moving party, courts consider
four sub-factors: ‘(1) the timing of the petition for review; (2) the timing of the request for the
stay; (3) the status of review proceedings; and (4) the relationship of the parties.’” E. Digital,
2016 WL 658033, at *4 (quoting Cypress Semiconductor Corp. v. GSI Tech, Inc., No. CV 13-
2013 JST, 2014 WL 5021100, at *3 (N.D. Cal. Oct. 7, 2014)).

         The first two sub-factors deal with the application for IPR proceedings. A party may not
file IPR proceedings more than one year after that party has been served with a complaint. 35
U.S.C. § 315(b). Courts have critiqued the moving party when it waited until the last minute to
file its IPR proceedings. See, e.g., Evolutionary Intelligence, 2014 WL 93954, at *4. Although
the parties do not provide the Court with the date that Defendant applied for IPR of the ’792
patent, the timing of the PTO’s grant of IPR is enough to confirm that Defendant filed for IPR
soon after Plaintiff filed Telesign II, given that Plaintiff filed Telesign II in March 2016 and the
PTO had already granted review by March 7, 2017. See CV 16-2106, Dkt. # 58. Moreover,
Defendant petitioned for a stay only two weeks after PTAB granted the IPR. See id., Dkt. # 65
(March 17, 2017). Because Defendant did not delay in requesting IPR or a stay from this Court,
the first two sub-factors weigh in favor of a stay.



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        The third sub-factor deals with the status of the IPR proceedings. Here, the PTO granted
Defendant’s IPR petition for the ’792 patent, and the PTAB is scheduled to complete its review
of the four claims in the patent by March 2018. Because the case is already stayed until June
2017, granting this request for stay would delay the case for another eight months. Although
Plaintiff argues that the stay could last for longer than that, given the potential of a good cause
extension and appeals to the Federal Circuit, courts have recognized that PTAB rarely, if ever,
requests good cause extensions, see Wonderland Nurserygoods, 2015 WL 1809309, at *2, and
the reasons for a stay diminish significantly after PTAB issues its IPR decision in the first
instance. This third factor thus also weighs in favor of a stay.

        The final sub-factor deals with the relationship among the parties. Where the parties are
direct competitors, as they are here, some courts “presume that a stay will prejudice the non-
movant.” ADA Sols., Inc. v. Engineered Plastics, Inc., 826 F. Supp. 3d 348, 351 (D. Mass.
2011). Plaintiff argues that it will be unduly prejudiced by a stay because it has already lost
substantial business accounts to Twilio. See Opp. 17:4–19:10. Although courts “are generally
reluctant to stay proceedings where the parties are direct competitors,” see Verinata Heath, Inc.
v. Ariosa Diagnostics, Inc., No. C 12-5501 SI, 2014 WL 121640, at *3 (N.D. Cal. Jan. 13, 2014)
(quoting Boston Sci. Corp. v. Cordis Corp., 777 F. Supp. 2d 783, 789 (D. Del. 2011)), courts
grant stays, even in cases among direct competitors, where the non-moving party has not made
“a specific showing of prejudice beyond the delay necessarily inherent in a stay,” Affinity Labs
of Texas, LLC v. Samsung Elecs. Co., No. 14-2717, 2014 WL 3845684, at *4 (N.D. Cal. Aug. 1,
2014). Here, Plaintiff asserts that it is harmed by continuing to have to compete in the
marketplace with an entity that it believes has infringed its patents. Although the harm to
Plaintiff is not insignificant, it is recoverable if Plaintiff prevails in this litigation, and so, the
prejudice from the delay is diminished, if ever so slightly.

        Moreover, the Court is not convinced that the burden from the eight months of additional
stay is “undue.” The Court and the parties will benefit from the IPR, and waiting until the IPR is
complete will ensure that the parties and the Court use their resources in the most efficient
manner possible. Although Plaintiff, at times, seems to accuse Defendant of maneuvering for
unfair advantage in this litigation and the case now pending in the Northern District, the Court
recognizes that Defendant had little opportunity to move faster with IPR review of the ’792
patent, given that the PTO registered the patent well after the others in the same family, and
Plaintiff, not Defendant, filed the second lawsuit multiplying these proceedings.

       Thus, although the Court recognizes that some prejudice might accrue to Plaintiff from
further delaying these proceedings, the Court does not see this prejudice as “undue.” The Court

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therefore finds that this factor only weighs slightly against the stay.

         D.      Summary

        The Court finds that two of the three factors weigh in favor of a stay. Although the Court
recognizes that a speedy adjudication is generally in the interests of justice, and acknowledges
that a stay will prejudice Plaintiff to some extent, the Court finds that the potential harm to
Plaintiff from an additional eight month stay does not outweigh the benefit of a final IPR
decision on the ’792 patent. The Court therefore GRANTS the motion to stay the case pending
the ’792 IPR.

IV.      Conclusion

        In the motion now before the Court, Defendant requested that the Court consolidate
Telesign I and Telesign II, and stay the consolidated case until PTAB completed its IPR of the
’792 patent. Because Plaintiff does not oppose consolidation, the Court GRANTS the motion to
consolidate, ordering all subsequent pleadings and motions filed under the first-filed case,
Telesign Corp. v. Twilio, Inc., CV 15-3240 PSG (SSx), and closing the second-filed case,
Telesign Corp. v. Twilio, Inc., CV 16-2106 PSG (SSx). Although the parties vigorously
contested Defendant’s request for an additional stay, the Court finds it appropriate to stay the
case for an additional eight months pending the IPR of the ’792 patent and GRANTS the motion
to stay. Because CV 15-3240 PSG (Ssx) was already stayed and administratively closed, the
case should remain administratively closed and may be reopened by application of either party.

         IT IS SO ORDERED.




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